       Case 1:21-cr-00175-TJK Document 285-17 Filed 02/07/22 Page 1 of 2




                                                       U.S. Department of Justice

                                                       Matthew M. Graves
                                                       United States Attorney

                                                       District of Columbia

                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530




                                                       February 4, 2022

Via Email and Electronic File Transfer


 Lisa Costner                                     Carmen D. Hernandez
 Ira Knight                                       7166 Mink Hollow Road
 Federal Public Defender MDNC                     Highland, MD 20777
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 J. Daniel Hull                                   Nicholas Smith
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 888 Seventeenth Street, NW                       Suite 4R
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                Re:   United States v. Ethan Nordean et al., Cr. No.: 21-cr-175 (TJK)

Dear Counsel:

       I write to memorialize another production related to the above-captioned case as part of the
government’s efforts to produce preliminary discovery on an ongoing basis. Today the
government produced a copy of an open-source video, which is approximately 28 minutes, that
was published by the Los Angeles Times on January 4, 2022. The video has been made available
for download in the Cross Discovery folder on USAfx. Please note that the video appears to show
defendant Donhohoe throwing water bottles at law enforcement at approximately the 2:04 mark.

         Please let us know if you have been unable to access and download the materials for your
use in this case. To assist our future productions of discovery, we would again request that you
return external hard drives that we have supplied, once you have had an opportunity to copy the
materials.
       Case 1:21-cr-00175-TJK Document 285-17 Filed 02/07/22 Page 2 of 2




       We understand that our discovery obligations are ongoing and intend to supplement our
disclosures on a rolling basis. If you have any questions, please do not hesitate to contact us.

                                                   Sincerely yours,

                                                   MATTHEW M. GRAVES
                                                   UNITED STATES ATTORNEY

                                            By:           /s/
                                                   Luke M. Jones
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